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                                                                                                 United States District Court
                                                                                                   Southern District of Texas

                                                                                                      ENTERED
                               UNITED STATES DISTRICT COURT                                           June 27, 2019
                                SOUTHERN DISTRICT OF TEXAS                                         David J. Bradley, Clerk
                                     LAREDO DIVISION

JUAN CASTILLO,                  §
                                §
      Plaintiff,                §
                                §
V.                              §                                      CIVIL ACTION NO. 5:18-CV-41
                                §
JLG INDUSTRIES, INC., OSHKOSH   §
CORPORATION, and JORGE ESTRADA, §
                                §
      Defendants.               §

                                                   ORDER

        Before this Court is Plaintiff’s Emergency Motion to Stay the Submission Date on the

Motion for Summary Judgment and to Amend Scheduling Order. (Dkt. No. 62). Plaintiff moves

to stay the submission date for Defendant JLG Industries, Inc.’s Motion for Summary Judgment

(Dkt. No. 53) on the grounds that Plaintiff has not been able to take the depositions of the witnesses

made the subject of the Court’s Order of June 14, 2019 (Dkt. No. 55). Plaintiff further requests the

extension of the deadlines in the Court’s Scheduling Order for designating experts, amending

pleadings, and conducting discovery.1 (Dkt. No. 62).

        Plaintiff has designated his motion as an emergency motion, presumably because the

submission date for Defendant’s motion for summary judgment (Dkt. No. 53) is July 3, 2019, less

than a week from the date he filed his motion.

        Defendants are ORDERED to file a response to Plaintiff’s motion (Dkt. No. 62) no later

than Monday, July 1, 2019, at 5:00 P.M. In addition to whatever response Defendants desire to

make, their response shall specifically address:


        1
           Although none of the Scheduling Order deadlines are identified in the motion, Plaintiff’s deadline to
designate expert witnesses expired on March 21, 2019; Plaintiff’s deadline to amend pleadings expired on March 1,
2019; and, the deadline for the parties to complete discovery expires on July 31, 2019. (See Dkt. No. 23).

                                                       1
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        1. What communications and efforts have been made between counsel for

            scheduling the depositions of Jorge Estrada and Jorge Garcia, as previously

            ordered by the Court (Dkt. No. 55).

        2. Whether Defendants are due to produce supplemental discovery responses to

            Plaintiff by July 8, 2019, as represented by Plaintiff in his motion (Dkt. No. 62

            at 2); and, if so, whether that supplemental discovery is relevant to the issues

            raised in the pending motion for summary judgment.

        3. Whether Defendants oppose Plaintiff’s motion to stay the submission date of

            the pending motion for summary judgment (Dkt. No. 53) until a specified

            amount of time after the depositions of Jorge Estrada and Jorge Garcia are taken

            and Defendant produces supplementary discovery responses to Plaintiff.

        The parties are ORDERED to file a joint advisory no later than Friday, June 28,

 2019 at 5:00 P.M. advising the Court whether they are jointly available for a status

 conference and/or hearing on any dates during the month of July 2019, other than July 1,

 2, 8 and 9, dates on which the Court is not available.

        IT IS SO ORDERED.

        SIGNED on June 27, 2019.


                                                   _______________________________
                                                   John A. Kazen
                                                   United States Magistrate Judge




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